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        IN THE UNITED STATES DISTRICT COURT
      FOR THE WESTERN DISTRICT OF PENNSYLVANIA
_______________________________
UNITED STATES OF AMERICA
                 vs.                 CRIMINAL ACTION NO. 03-161
MATTHEW ALAN MANCUSO
_______________________________


                       PROCEEDINGS
          Transcript of Sentencing Hearing, commencing on
Thursday, February 5, 2004, United States District Court,
Pittsburgh, Pennsylvania, before Honorable Terrence F.
McVerry, U.S. District Judge.



APPEARANCES:
For the Government:          TINA O. MILLER, Esquire
                             United States Attorney's Office
                             U.S. Courthouse
                             700 Grant Street, Suite 4000
                             Pittsburgh, Pennsylvania 15219
For the Defendant:           STANLEY W. GREENFIELD, Esquire
                             Greenfield and Kraut
                             1040 Fifth Avenue
                             Pittsburgh, Pennsylvania 15219

Reported by:                 Virginia S. Pease
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1         (In Open Court.)
2               THE COURT: It is Thursday, February 5th, 2004, at
3    3:30 p.m., the date on which sentencing has been scheduled in
4    the case of United States of America versus Matthew Alan
5    Mancuso, at case No. 03-161.
6               Would counsel for the government and counsel for
7    Mr. Mancuso kindly enter your respective appearances on the
8    record.
9               MISS MILLER: Tina Miller from the United States
10   Attorney's Office, representing the United States of America,
11   Your Honor.
12              MR. GREENFIELD: Stanley W. Greenfield, as counsel
13   for Mr. Mancuso.
14              THE COURT: Thank you.
15              Since the plea hearing in this Court on
16   September 25th, 2003, I note for the record the preparation of
17   the following by the Probation Office. A pre-sentence report,
18   prepared on November 24th, 2003, and the addendum to the
19   pre-sentence investigation report on January 22nd, 2004.
20              We also have the filing of the following. The
21   government's position with respect to sentencing factors that
22   was filed on December 8th, 2003, the defendant's objections to
23   the pre-sentence investigation report, and mitigation
24   statement that was filed on January 16th, 2004, the
25   government's response to the defendant's objections that was
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1    filed on January 21st, 2004, and the tentative findings and
2    rulings by the Court filed on February 2nd, 2004. Each and
3    every one of these documents have been filed under seal.
4               Have both the defendant, Matthew Alan Mancuso, and
5    his attorney, Stanley Greenfield, reviewed the documents to
6    which I've made reference?
7               MR. GREENFIELD: We have, Your Honor.
8               THE COURT: Has the United States also reviewed
9    these documents?
10              MISS MILLER: Yes, Your Honor.
11              THE COURT: Mr. Greenfield, would you kindly bring
12   your client forward to be sworn.
13          (Whereupon, defendant was duly sworn.)
14              THE COURT: You are Matthew Alan Mancuso; are you
15   not?
16              THE DEFENDANT: Yes.
17              THE COURT: In a proceeding in this court on
18   September 25th, 2003, you pleaded guilty to Count 1 of a
19   two-count criminal indictment at No. 03-161, which charged you
20   with the sexual exploitation of a minor from in or around
21   November, 1998, until in or around July, 1999, in violation of
22   Title 18, United States Code, Section 2251(a). Is that
23   correct?
24              THE DEFENDANT: Yes, sir.
25              THE COURT: Following your guilty plea, do you
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1    recall having indicated your willingness to be interviewed by
2    the Probation Office, and have me review the pre-sentence
3    investigation report prior to determining your sentence?
4                THE DEFENDANT: Yes.
5                THE COURT: I have reviewed the compete file in this
6    case, the Probation Office's pre-sentence investigation
7    report, the addendum, you and your attorney's objections to
8    the pre-sentence report, the response of the United States
9    Attorney's Office to your objections, and the recommendation
10   of the Probation Office with regard to an appropriate
11   sentence.
12               I must advise you that according to a standing order
13   of the Board of Judges of this Court, it is not appropriate to
14   disclose the sentence recommendation of the Probation Office
15   to you, your attorney, or the government's counsel. However,
16   in determining your sentence, the Court will not otherwise
17   consider any factual or legal matter that has not previously
18   been disclosed to you and your attorney. Do you understand
19   that?
20               THE DEFENDANT: Yes.
21               THE COURT: Mr. Greenfield, having reviewed the
22   pre-sentence investigation report, the addendum and the
23   Court's tentative findings and rulings, and discussed them
24   with your client, are there any errors in these documents that
25   you've not already called to the Court's attention?
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1               MR. GREENFIELD: There are none, Your Honor.
2               THE COURT: Mr. Mancuso, have you reviewed and
3    discussed the presentence report, the addendum, and the
4    Court's tentative findings and rulings with your counsel,
5    Mr. Greenfield?
6               THE DEFENDANT: Yes, I have.
7               THE COURT: Is that correct, Mr. Greenfield?
8               MR. GREENFIELD: It is in fact, Your Honor.
9               THE COURT: Miss Miller, does the government have
10   any position that it would like to state with regard to the
11   Court's tentative findings and rulings?
12              MISS MILLER: No, Your Honor.
13              THE COURT: The Court, therefore, hereby adopts its
14   tentative findings and rulings, and the relevant findings in
15   the pre-sentence report and addendum that are applicable to
16   this sentence determination.
17              Mr. Greenfield, is there anything you would like to
18   say on behalf of your client at this time?
19              MR. GREENFIELD: I should like to just merely
20   reference the remarks that were in writing with respect to the
21   statement filed by the defendant in connection with the
22   objections and in mitigation. I won't belabor them now, and I
23   won't revisit them in open court in as explicit a way as I
24   presented them to the Court there in the written form.
25              I would merely ask the Court to keep in mind, as I
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1    take it the Court will, the points that were made there, and
2    though they did not result in convincing the Court that there
3    should be an elimination of upward calculations that were the
4    basis of the objections, nevertheless, we respectfully suggest
5    they remain as points that should be considered in, if not in
6    mitigation, in the fullest sense in preserving a, a position
7    for the defendant within the scope of the guidelines already
8    now indicated by the pre-sentence report and his status as a
9    offender with a 34 rating under the guidelines.
10              Your Honor has a range within the guidelines, as the
11   guideline score indicating, as you know, between 151 and the
12   188, and I would respectfully suggest that the remarks made in
13   the mitigation claim in writing are appropriate for
14   consideration by the Court in connection with meting out a
15   sentence within the standard range, and certainly at the lower
16   end of it, as we perceive it.
17              Having said all that, there's really nothing more to
18   add at this point, Your Honor.
19              THE COURT: I am mindful of the arguments that you
20   made and your objections to the pre-sentence investigation
21   report, and I've responded to them, as you're aware, and
22   adopted those tentative findings.
23              But that having been said, I remain mindful of your
24   arguments made there.
25              Mr. Mancuso, do you have anything additional that
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1    you would like to say or present on your own behalf before
2    sentencing?
3               THE DEFENDANT: No, I don't.
4               THE COURT: Are you in any way dissatisfied with the
5    service, advise or representation provided by Mr. Greenfield
6    in this matter?
7               THE DEFENDANT: No, not at all.
8               THE COURT: Mr. Greenfield, is there any legal cause
9    or reason why sentence should not now be pronounced?
10              MR. GREENFIELD: None, Your Honor.
11              THE COURT: Miss Miller, does the government have
12   any position or statement that you would like to make
13   regarding sentence?
14              MISS MILLER: Yes, Your Honor. And we also have a
15   letter from the child victim that her representative would
16   like to read. And her representative would also like to
17   address the Court.
18              With respect to the government's position, Your
19   Honor, it's our position, as we've said in our brief, a
20   sentence at the upper end of the guideline range is
21   appropriate in this case. I think that is so because, first
22   of all, of the extent of the abuse that this child victim
23   suffered at the hands of Mr. Mancuso. And I think it's also
24   because of the extent to which Mr. Mancuso went to gain access
25   to this child victim. I think this was not a crime of
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1    passion. This was a cold, calculated crime that took a great
2    deal of planning. For that reason, Your Honor, I think that a
3    sentence at the upper end of the guideline range is
4    appropriate. Frankly, I wish, as the prosecutor, that I could
5    have thought of a way that I could have charged Mr. Mancuso
6    with crimes that would have put him in jail for the rest of
7    his life, because I think that this crime is one that is
8    deserving of such a sentence. Unfortunately, that wasn't
9    anything that I was able to do in this case.
10              However, I think that 15 and a half years would be
11   an appropriate sentence for this Court to impose on
12   Mr. Mancuso.
13              THE COURT: Pursuant to Federal Rule of Criminal
14   Procedure 32(i)(4), the Court is required, before imposing
15   sentence, to address any victim of a crime, or that victim's
16   legal representative, of any crime of violence or sexual abuse
17   who is present at the sentencing, and the Court is prepared to
18   hear from the legal guardian of the victim at this time.
19        (Whereupon, witness was duly sworn.)
20              MISS MILLER: Your Honor, she would like to read a
21   letter that was written by the child victim in this case,
22   addressing her present circumstances.
23              THE COURT: Is there any reason why the witness
24   should not be identified on the record, and her relationship
25   with the victim established prior to her testimony?
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1               MISS MILLER: I don't believe so, Your Honor.
2               THE COURT: If there is, tell me.
3               MISS MILLER: Do you have any objection to doing
4    that?
5               She has no objection to doing that, Your Honor.
6               THE COURT: Okay. Tell us your name, then.
7               THE WITNESS: I'm Lynn Maria Ginn.
8               THE COURT: Can you spell that, please?
9               THE WITNESS: L-Y-N-N, Maria, M-A-R-I-A, Ginn,
10   G-I-N-N.
11              THE COURT: And what is your relationship with the
12   child victim in this matter?
13              THE WITNESS: Pre-adoptive parent.
14              THE COURT: Pre-adoptive parent?
15              THE WITNESS: Yes.
16              THE COURT: Are you presently in a foster
17   relationship also?
18              THE WITNESS: Yes, um-hum.
19              THE COURT: So the child lives with you?
20              THE WITNESS: Yes.
21              THE COURT: Have you had an opportunity, either
22   today or prior to today, to talk to the Assistant United
23   States Attorney regarding your testimony here today?
24              THE WITNESS: Yes.
25              THE COURT: And so, you are aware, I presume, of
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1    certain things that have been under seal during the course of
2    this entire matter, and that we, and that you cannot testify
3    to, such as the victim's identity and the like? You're aware
4    of that?
5               THE WITNESS: Yes.
6               THE COURT: Okay. Go ahead.
7               THE WITNESS: This says, Dear Mummsy, I just want to
8    say thank you for being so nice to me. You, you've helped me
9    through so much already. I finally have a mom, one that
10   really loves me, too. I love it.
11              I love it in church. And my live is easy now that I
12   have God. Thank you for being such a caring mother. And some
13   times have been hard, but you have been there. Sometimes I
14   thought that I was confused, but you helped me.
15              Thank you for my birthday party. Thank you for
16   loving me. Thank you for being there for me. I love you so
17   much.
18              And then, it says, mum, you are nice. I mean, I
19   just love you. I love you, especially sweet.
20              MISS MILLER: Your Honor, may we approach briefly at
21   sidebar?
22              THE COURT: Yes.
23              MR. GREENFIELD: The defendant also approach, Your
24   Honor?
25        (Sidebar conference was held on the record:
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1                MISS MILLER: Your Honor, thank you for indulging
2    us. Miss Ginn wanted to make a statement to the Court
3    concerning the circumstances under which Marsha was brought to
4    her home and the condition that she was in when she got there.
5    I thought that might be best to do at sidebar, because it
6    would certainly disclose the nature of the relationship
7    between Marsha and Mr. Mancuso.
8                So with the Court's indulgence, Miss Ginn wanted to
9    address the Court.
10               MR. GREENFIELD: All right.
11               THE COURT: Okay, yes.
12               THE WITNESS: I just wanted to say that when Marsha
13   came to me, she -- I mean, I was afraid to even hug her or
14   anything. She was very mal-nourished. Her hair was fragile.
15   She didn't eat hardly anything. I asked her what some of the
16   things --
17               MR. KAUFMAN: (From the audience) Your Honor, I'm
18   sorry, but the gallery can hear everything.
19               THE COURT: Keep your voice down.
20               THE WITNESS: In other words, she just is
21   experiencing an eating disorder. She didn't eat a lot of
22   food. She didn't drink milk. I asked her some of the things
23   that they ate at home. She said basically her dad fed her
24   spaghetti with no sauce, just plain noodles. Everything was
25   bland. Plain, raw vegetables.
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1              She was 15 pounds underweight when she came with me.
2    She has gained seven, almost seven pounds now. She is happier
3    now. She has nightmares about some of the things that
4    happened to her. She has a hard time sleeping. Sometimes I
5    have to go and lay with her, talk her through it.
6              Just, I mean, there's so many things that she's
7    going through. And I brought even some before and after
8    pictures of her. This is her when she came to me, these two.
9    This is her now. She looks so much better. She's a lot
10   happier. I mean, she's really gone through a lot. This has
11   been very traumatic for her.
12             MISS MILLER: Is there anything else you wanted to
13   say to the Court?
14             Okay. Thank you, Your Honor.
15             MR. GREENFIELD: Your Honor, I want you -- I want
16   the response of Mr. Mancuso.
17             THE DEFENDANT: Just to respond about she has an
18   eating disorder. Marsha never had an eating disorder. She
19   came from an orphanage, where they fed her rarely anything.
20   In fact, when I went to adopt her, she took me outside one day
21   and showed me a bush she would eat green berries from. That's
22   how the kids were fed when they were starving. They didn't
23   have any food for them, literally, to feed them in the
24   orphanage. They fed them rice, and bread, and soup. She had
25   a very limited diet.
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1              When Marsha came to me, she wouldn't eat anything.
2    I tried to get her to eat noodles with sauce, pizza, and
3    chicken. She wouldn't eat any of it. She wouldn't drink
4    milk. Rather than force her to do that, I often let me (sic)
5    decide what her diet should be. I was her responsible parent
6    in that regard. I fed her daily. I provided for her. She
7    ate raw vegetables. There's nothing wrong with that. She ate
8    noodles. She ate good food.
9              I restricted her diet only in the sense, I didn't
10   let her eat junk food. And she was underweight because that's
11   the way she was. She was a small child. She was a premature
12   baby. She was born 2.2 pounds, so she was naturally small for
13   her age. That's all can I say. I did not mistreat her, as
14   far as her diet is concerned, whatsoever.
15             MR. GREENFIELD: How about her eye?
16             THE DEFENDANT: Her eye problem, she has turned eye.
17   When I first brought her here, I took her to the dentist to
18   have her teeth taken care of. I took her to the optometrist
19   to have her eyes examined. I had two doctors look at her, and
20   they both recommended they not do surgery on her at the time
21   because it would have been too traumatic for her, just coming
22   to the United States. They both told me that correcting her
23   eyes would not improve her vision, would only be cosmetic.
24             At that time, Marsha had some very traumatic
25   experiences in Russia in the hospital. She was traumatized by
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1    her parents. She was put in the hospital. She had an
2    extremely bad scar on her neck from, what I understand, was
3    her mother tried to kill her, I think, with a knife. So she
4    was very afraid of hospitals and doctors.
5                When I took her to get her immunization shots when I
6    first brought her here, it took two of us to hold her down to
7    get shots in her arm. That's how scared she was, coming to a
8    doctor. So it was my decision to just wait until she got a
9    little bit older, so she could be a part of the decision to
10   correct her eye. And probably now is a good time to do that,
11   when she's older and she understands what's going on. When
12   she came to this country, she couldn't speak any English, she
13   spoke only Russian, and it just wasn't the right thing to do
14   at that time.
15               THE COURT: With whom does Marsha live, besides you?
16               THE DEFENDANT: Just myself.
17               THE COURT: Okay. I didn't know if you had other
18   children.
19               THE WITNESS: Can I say one other thing?
20               THE COURT: Yes.
21               THE WITNESS: I also say that Marsha, since she came
22   to live with me, she's been eating a lot of different foods.
23   She started drinking milk within two months, immediately
24   started eating hamburgers, chicken. Three weeks ago she was
25   eating pizza, spaghetti with sauce. I mean, she's made
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1    tremendous progress. I mean, she had stated to me that she
2    was forced to stick to a strict diet, and her doctor diagnosed
3    her with an eating disorder.
4              THE DEFENDANT: That's not true.
5              THE WITNESS: I'm just very concerned about her.
6    And now she is, right now she's very traumatized.
7              THE DEFENDANT: That's not true. Marsha stayed with
8    my family, mother and sister, overnights. Why would anyone
9    try to keep food from a child? I mean, that doesn't make any
10   sense at all.
11             She chose not to eat these foods. And my mother is
12   an Italian woman. She wants everybody to eat everything that
13   they can, and she couldn't get food into Marsha either. There
14   was no food ever withheld from Marsha at any time.
15             THE COURT: All right. Thank you.
16             MISS MILLER: Thank you, Your Honor.
17        (Whereupon, sidebar conference concluded.)
18             THE COURT: Due to the sensitive nature of some of
19   the matters that were just placed on the record, that was done
20   at sidebar, as compared to in open court. The Court
21   determined, on the other hand, however, that it didn't require
22   to be in camera and outside of this room. So, to the extent
23   that it was overheard, I apologize.
24             Mr. Mancuso, United States Sentencing Guidelines
25   total offense level in this matter was originally at 27, but
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1    it was enhanced by six levels based on specific offense
2    characteristics, pursuant to Sentencing Guideline
3    Section 2G2.1(b)(1)(A) and 2G2.1(b)(2).
4              It was also enhanced, as you know, an additional
5    four levels, based on victim-related adjustments, pursuant to
6    Sentencing Guideline Section 3A1.1(b)(1) and 3A1.3(2), and
7    Sentencing Guideline 3A1.1(b)(1), which resulted in an
8    adjusted offense level of 37.
9              This adjusted level was reduced by three for
10   adjustment for acceptance of responsibility, which resulted in
11   a total offense level of 34. That places you in a criminal
12   history category, you are in a criminal history category of
13   one, having no prior criminal record, and you are in Zone D in
14   the Sentencing Guidelines as far as potential sentence is
15   concerned.
16             Under the guidelines, you are well aware, through
17   counsel and through arguments by the government, that you
18   could be imprisoned for a period from 151 to 188 months. You
19   are not eligible for parole. You are, if imprisoned, subject
20   to supervised release of two to three years. You could be
21   fined anywhere from 17,500 to $175,000. Restitution is
22   mandatory in this case. And a special assessment of $100 is
23   something to which you are subject.
24             Pursuant to the Sentencing Reform Act of 1984, it is
25   the judgment of the Court that you, Matthew Alan Mancuso, are
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1    hereby committed to the custody of the Bureau of Prisons, to
2    be imprisoned for a term of 188 months. The Court recommends
3    that the Bureau of Prisons designate an institution wherein
4    you may participate in a treatment program for sex offenders.
5              Upon completion of your term of imprisonment, you
6    shall be placed on supervised release for a period of three
7    years. Within 72 hours of your release from the custody of
8    the Bureau of Prisons, you shall report in person to the
9    Probation Office in the District to which you are released.
10             While on supervised release you shall not commit
11   another federal, state, or local crime, and you shall comply
12   with the standard conditions that have been recommended by the
13   Sentencing Commission and adopted by this Court.
14             You must comply with the following conditions:
15             You shall not illegally possess a controlled
16   substance.
17             You shall not possess a firearm or destructive
18   device of any kind.
19             You shall participate in a mental health treatment
20   program and/or sex offender treatment program, as approved and
21   directed by the Probation Office.
22             You shall abide by all program rules, requirements,
23   and conditions of the sex offender treatment program,
24   including submission to polygraph testing to determine if you
25   are in compliance with the conditions of release.
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1              You shall not associate with children under the age
2    of 18, except in the presence of a responsible adult who is
3    aware of the nature of your background and current offense,
4    and who has been approved by the Probation Office.
5              In accordance with Title 18, United States Code,
6    Sections 3583 and 4042, you shall report the address where you
7    will reside, and any subsequent change of address, to the
8    Probation Office responsible for your supervision.
9              And further, you shall register as a convicted sex
10   offender in any state where you reside, are employed, or carry
11   on a vocation or are a student.
12             You shall not possess any materials, including
13   pictures, photographs, books, writings, drawings, videos or
14   video games depicting and/or describing child pornography, as
15   that term is defined in 18 United States Code,
16   Section 2256(8).
17             You are prohibited from operating or accessing
18   Internet websites containing child pornographic materials.
19   You shall use only those computers and computer-related
20   devices, screen user names, passwords, e-mail accounts, and
21   Internet service providers as approved by the Probation
22   Office. Computers and computer-related devices include, but
23   are not limited to, personal computers, personal data
24   assistance, Internet appliances, electronic games, and
25   cellular telephones, as well as their peripheral equipment
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1    that can access, or can be modified to access, the Internet,
2    electronic bulletin boards, other computers or similar media.
3              You shall cooperate in the collection of DNA as
4    directed by the Probation Office.
5              The periodic drug testing mandated by the Violent
6    Crime Control and Law Enforcement Act of 1994 is hereby
7    suspended. The Court finds that this offense is not drug
8    related, and that you have no current or past history of
9    substance abuse.
10             A mandatory special assessment of $100 is imposed,
11   pursuant to Title 18, United States Code, Section 3013, which
12   shall be paid to the United States District Court Clerk
13   forthwith.
14             Restitution in this matter is mandatory, pursuant to
15   Title 18, United States Code, Sections 2259(a) through 3663,
16   3663(a) and 3664. In order to meet your restitution
17   obligation, the Court has the understanding that you have
18   fully funded a trust account in the amount of $200,000 for the
19   benefit of the child victim in this case.
20             Miss Miller, has the trust been fully funded through
21   escrow funds --
22             MISS MILLER: Yes, Your Honor.
23             THE COURT: -- at this time?
24             MISS MILLER: Yes, Your Honor.
25             THE COURT: That is accomplished. That has been
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1    accomplished?
2              MISS MILLER: That has been accomplished, Your
3    Honor.
4              THE COURT: Based on the financial information,
5    then, contained in the presentence investigation report, as
6    well as the full funding of a trust fund, the Court finds that
7    you do not have the ability to pay a fine. Therefore, the
8    Court will waive any fine in this matter.
9              Mr. Mancuso, you're actions are reprehensible, to
10   say the least. Although there is no presently determinable
11   monetary loss in this case, the damage you've done in scarring
12   this young victim's psyche for life cannot really be measured.
13             While you're establishment of a trust fund for the
14   victim is commendable, this in no manner excuses or diminishes
15   your criminal conduct in this matter whatsoever. This
16   sentence as imposed adequately conforms with the statutory and
17   sentencing guideline requirements.
18             This sentence is based on the need to reflect the
19   seriousness of the offense, to promote respect for the law,
20   and to provide just punishment for the offense.
21             Mr. Mancuso, except as you may have previously
22   waived rights in your plea agreement, you have the right to
23   appeal from the orders of this Court, the judgment of guilt,
24   and/or the sentence imposed today.
25             Do you understand that?
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1              THE DEFENDANT: Yes, sir.
2              THE COURT: You have the right to have a lawyer
3    represent you on appeal, and if you cannot afford a lawyer,
4    one will be appointed for you at no cost to yourself.
5              Do you understand that?
6              THE DEFENDANT: Yes, I do.
7              THE COURT: If you cannot afford certified copies of
8    the necessary court records and transcripts, they will
9    likewise be furnished to you at the expense of the United
10   States Government.
11             You understand that?
12             THE DEFENDANT: Yes.
13             THE COURT: Finally, you must know that if you were
14   to appeal, you must do so, that is, appeal, within ten days
15   from today. If you do not appeal within ten days of today,
16   you will lose your right to appeal.
17             You understand that?
18             THE DEFENDANT: Yes, I do.
19             THE COURT: If you request, the Clerk of Court will
20   immediately prepare and file a notice of appeal on your
21   behalf.
22             Do you want the Clerk of Court to prepare and file a
23   notice of appeal for you?
24             THE DEFENDANT: Not at this time.
25             THE COURT: Are there any other matters for
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1    consideration before this sentencing hearing is concluded?
2              MISS MILLER: Yes, Your Honor. The government
3    would, first of all, move to seal that portion of the record
4    of today's proceedings that were conducted at sidebar, and we
5    would also move to dismiss Count 2 of the indictment.
6              THE COURT: Government's motion, without objection,
7    is granted. The proceedings at sidebar will be sealed. And
8    Count 2 of the indictment -- is it Count 2 of the indictment?
9              MISS MILLER: I believe so, Your Honor.
10             MR. GREENFIELD: Yes, Your Honor.
11             THE COURT: Count 2 of the indictment will be
12   dismissed.
13             Is it the government's motion to continue the
14   matters that heretofore have been filed under seal, to remain
15   under seal?
16             MISS MILLER: Yes, Your Honor.
17             MR. GREENFIELD: Yes.
18             THE COURT: Nothing further to come before this
19   Court, this sentencing hearing is concluded, and Court is
20   adjourned.
21        (Court recesses.)
22                           *****
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24
25
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                      I certify by my original signature herein
that the forgoing is a correct transcript from the record of
proceedings in the above-entitled matter.


                                  s/Virginia S. Pease
                                  Official Court Reporter
